 

Case 3:20-cr-02020-AJB Document 40 Filed 11/06/20 PagelD.47 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Case No. 20CR2020-AJB

Plaintiff,
VS. .

JUDGMENT OF DISMISSAL

 

JOSE SERRANO

 

 

 

Defendant.

 

 

NOV -6 232

 

 

 

 

IT APPEARING that the defendant is now entitled to be digeharged for the reaseumthatn

 

 

an indictment has been filed in another case against the defendant and the Court has
granted the motion of the Government for dismissal of this case, without prejudice; or

x]

[J the Court has dismissed the case for unnecessary delay; or ©

Cl the Court has granted the motion of the Government for dismissal, without prejudice; or |
0 the Court has granted the motion of the defendant for a judgment of acquittal; or

O a jury has been waived, and the Court has found the defendant not guilty; or

C) the jury has returned its verdict, finding the defendant hot guilty;

of the offense(s) as charged in the Indictment/Information:

x

Ct2- 21:952, 960 - Importation of Heroin (Felony)

 

 

 

  

 

 

How. Mitchell D. Dembin
United States Magistrate Judge

 
